SYSTEM AND MEETHOD FOR UNDERWATER OBJECT DETECTION WITH LAW
ENFORCEMENT ALERT AND EXTERNAL AGENCY NOTIFICATION

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INVENTOR INFORMATION

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705/7.13
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TYPE CPC DATE
CPCI G 06 T 7/70 2017-01-01
CPCI G 06 Q 50/26 2013-01-01
CPCI G 08 B 21/18 2013-01-01
CPCI G 06 T 7/50 2017-01-01
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CPCI G 06 V 20/05 2022-01-01
CPCI G 06 V 20/17 2022-01-01
CPCI G 06 V 20/52 2022-01-01
CPCI H 04 Q 9/00 2013-01-01
CPCI G 06 T 7/62 2017-01-01
CPCI G 06 V 20/13 2022-01-01
CPCI G 06 Q 10/06311 2013-01-01
CPCA H 04 Q 2209/40 2013-01-01
CPCA G 06 T 2207/30232 2013-01-01
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KWIC Hits
RESCUE METHOD AND SYSTEM FOR MAN OVERBOARD WITH REMOTE
MONITORING

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INVENTOR INFORMATION

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FOREIGN APPLICATION PRIORITY DATA

COUNTRY APPLICATION NO APPLICATION DATE
TW 110145905 2021-12-08

US CLASS CURRENT:

340/573.6,340/573.1

CPC CURRENT
TYPE CPC DATE
CPCI B 63 C 9/0005 2013-01-01
CPCI B 63 C 9/00 2013-01-01
CPCA B 63 G 2008/004 2013-01-01
CPCA B 63 C 2009/0017 2013-01-01
KWIC Hits

Abstract

The present invention proposes a rescue system and method for man overboard with remote
monitoring, which is implemented by a rescue system consisted of an onboard processing unit, a
distress signal module, an unmanned rescue vehicle, an autonomous ship, a communication module,
and a shore control center (SCC). The technical effect of the present invention is that when a person
falls into the water, the unmanned rescue vehicle can automatically locate and monitor the falling
target immediately, and the shore control center (SCC) can accurately locate the relative position
between the unmanned rescue vehicle and the ship where the person falls. Thereby, the shore control
center (SCC) can control the rescue process throughout the entire process and release rescue device
for rescue.

Background/Summary

TECHNICAL FIELD
Beacon Location Estimation

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US 20230025224 A1

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17/380050

US CLASS CURRENT:

1/]

CPC CURRENT

TYPE

CPCI
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KWIC Hits

Abstract

CITY STATE
Kiryat Ono N/A

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05

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2021-07-20

CPC

G 01 S 5/0231

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G 01 S 5/0294

G 01S 19/02
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ZIP CODE
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2020-05-01

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IL

A method and system for estimation of the current location of a remote radio beacon, at a mobile
device, based on two historical positions thereof provided via at least two satellite relays and one base
station, particularly usable for Search and Rescue. A beacon is configured to periodically transmit
short RF signals, relayed by a first satellite payload to a base station, at which the position of the
beacon is resolved; then, the base station transmits a message, relayed by a second satellite payload
and detectable by a mobile device, encoding two previous positions of the beacon, stamped with time
tags. Finally, the mobile device decodes the information about said two previous positions of the
beacon, and accordingly estimates the current position of the beacon, accounting for possible different

time references.
FLIGHT-ENABLED SIGNAL BEACON

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US 20220144429A1 2022-05-12

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APPLICATION NO DATE FILED
17/520569 2021-11-05

DOMESTIC PRIORITY (CONTINUITY DATA)
us-provisional-application US 63110482 20201106

US CLASS CURRENT:

1/]

CPC CURRENT

TYPE CPC

CPCI G 05 D 1/101
CPCI G01 C 21/16
CPCI G 05 D 1/0808
CPCI G 08 G 5/0026
CPCI G 01S 19/18
CPCI B 64 C 27/72
CPCI B 64 U 30/20
CPCI B 64 C 11/28
CPCI B 64 U 10/10
CPCI G 08 G 5/0056
CPCI G 08 G 5/0073
CPCI G 05 D 1/12
CPCI B 64 C 27/57
CPCI B 64 C 39/024
CPCI G 08 G 5/0069
CPCI G 06 T 7/70
CPCI B 64 C 27/39
CPCI B64 C 11/48
CPCI B 64 D 47/02

CPCI G 08 G 5/0013

ZIP CODE

N/A
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COUNTRY

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METHOD AND APPARATUS FOR WATER SPORTS AUTOMATION AND ENHANCED
SITUATIONAL AWARENESS

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US 20220089259 A1 2022-03-24

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APPLICATION NO DATE FILED

17/481309 2021-09-22

DOMESTIC PRIORITY (CONTINUITY DATA)
us-provisional-application US 63081489 20200922

us-provisional-application US 63218030 20210702

US CLASS CURRENT:

1/1

CPC CURRENT

TYPE CPC DATE
CPCI B 63 C 9/0005 2013-01-01
CPCI B 63 B 34/60 2020-02-01
CPCI B 63H 21/21 2013-01-01
CPCI B 63 B 34/70 2020-02-01
CPCI G 05 D 1/0055 2013-01-01
CPCA B 63 C 2009/0017 2013-01-01
KWIC Hits
Abstract

An objective of the present invention is to provide a system to sense immersion of a participant into
water. The system comprises a smart flag and an alarm device of a watercraft, and an FOB device of
a participant. The smart flag, the alarm, and the FOB device are wirelessly connected to each other.
The FOB device detects the immersion of the participant in the water. The smart flag is automatically
deployed based on the detected immersion. The alarm device is automatically turned ON creating an
alarm indicating an SOS signal. When the participant gets submerged in the water, the communication
is ceased, thus initiating the flag to go up automatically and alarm a captain of the watercraft.
Deployment of the flag lets surrounding watercraft to know that the participant is in the water.

Background/Summary

CROSS-REFERENCE TO RELATED PATENT DOCUMENTS
SEQUESTERING BIOMASS IN WATER

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US 20220080480 A1 2022-03-17

INVENTOR INFORMATION

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DOMESTIC PRIORITY (CONTINUITY DATA)
us-provisional-application US 62870428 20190703

us-provisional-application US 62820088 20190318

us-provisional-application US 62783740 20181221

US CLASS CURRENT:

1/1

CPC CURRENT
TYPE CPC DATE
CPCI B 63 B 35/32 2013-01-01
CPCI B 09 B 1/002 2013-01-01
CPCI A01 D 44/00 2013-01-01
KWIC Hits

Abstract

Buoyant matter, and particularly biomass such as seaweed, is sequestered deep in a body of water,
fey causing the matter to lose it buoyancy and sink and remain sunk for an extended period. In some
examples, the matter is pumped to below a depth at which is loses its natural buoyancy as a result of
the ambient water pressure resulting in it naturally sinking to the bottom.

Background/Summary
CROSS-REFERENCES TO RELATED APPLICATIONS

[0001] This application claims the benefit of the following U.S. Provisional Applications, which are
incorporated herein by reference: No. 62/783,740, filed Dec. 21, 2018; No. 62/820,088 filed Mar. 18,
2019; and No. 62/870,428 filed Jul. 3, 2019.

BACKGROUND OF THE INVENTION
MAN OVER BOARD DETECTION SYSTEM

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US 20220058932 A1 2022-02-24

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COUNTRY APPLICATION NO APPLICATION DATE
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1/1

CPC CURRENT

TYPE CPC DATE
CPCI G 08 B 29/188 2013-01-01
CPCI B 63 C 9/0005 2013-01-01
CPCI G 08 B 21/08 2013-01-01
KWIC Hits

Abstract

A Man Over Board (MOB) system includes sensor units located around a periphery of a vessel, an
interconnector unit communicatively coupled with the plurality of sensor units and configured to
receive data from the sensors, a data fusion processing unit, and a control station. The data fusion
processing unit is configured to receive the data from the sensor units via the interconnector unit,
compile the data from the sensor units, and trigger a MOB warning based on the compiled data. The
control station is located at a bridge of the vessel and configured to display the MOB warning and at
least a portion of the compiled data from the sensor units via a video verification interface and receive
verification input from a human operator via the video verification interface to confirm a MOB event.

Background/Summary
CROSS-REFERENCE TO RELATED APPLICATIONS

[0001] The present application is the U.S. national stage entry under 35 U.S.C. § 371 of international
patent application PCT/EP2019/085419, filed Dec. 16, 2019, entitled “MAN OVER BOARD
Overboard Tracking Patch

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US 20200220248 A1 2020-07-09

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us-provisional-application US 62788080 20190103
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1/1
CPC CURRENT
TYPE CPC DATE
CPCI H 01 Q 9/0407 2013-01-01
CPCI H 01 Q 1/36 2013-01-01
CPCI H 01 Q 1/2225 2013-01-01
CPCI B 63 C 9/20 2013-01-01
CPCI H 01 Q 1/24 2013-01-01
CPCI H 01 Q 1/40 2013-01-01
CPCI H 01 Q 1/273 2013-01-01
CPCI B 63 C 9/0005 2013-01-01
CPCA B 63 C 2009/0017 2013-01-01
CPCA B63 C 9/13 2013-01-01
CPCA B 63 B 2201/20 2013-01-01
CPCA B 63 C 9/082 2013-01-01
CPCA B63C 9/11 2013-01-01
CPCA B 63 B 2201/12 2013-01-01
KWIC Hits
Abstract

An overboard tracking patch is an apparatus which increases the visibility and tracking capabilities of
Personal Flotation Devices (PFDs) for more efficient tracking of overboard individuals. In a passive
embodiment, the apparatus includes an outer layer, an intermediate layer, an attachment layer, and a
processor. The outer layer increases the visibility of PFDs during both daytime and nighttime
conditions. The intermediate layer provides radio identification capabilities for the remote tracking of
PFDs using search radars. The attachment layer enables users to attach the present invention to a
